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                    IN THE UNITED STATES DISTRICT COURT U S Dt

                   FOR THE SOUTHERN DISTRICT OF GEORGIA                        j 2S A 8 511
                                AUGUSTA DIVISION
                                                                         r:;
KEVIN SHAWN BLYDEN,

              Petitioner,

       V.                                          CV 107-03 1
                                                   (Formerly CR 198-049)
UNITED STATES OF AMERICA,

              Respondent.


                                      ORDER

       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation ('R&R"), to which no objections have been filed

Accordingly, the R&R of the Magistrate Judge is ADOPTED as the opinion of the Court.

Therefore, Petitioner's 28 U.S.C. § 2255 motion is DENIED, this civil action is CLOSED.

and final judgment is ENTERED in favor of the United States of America.

       SO ORDERED this2June, 2008,t Augusta, Georgia.,




                                    UNITE1 STATES D(STRTCTT11GE J'
